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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                             C.A. NO: 1:21-CV-11269-FDS


ESTADOS UNIDOS MEXICANOS,
     Plaintiff,

v.

SMITH & WESSON BRANDS, INC.;
BARRETT FIREARMS MANUFACTURING,
INC.; BERETTA U.S.A. CORP.; BERETTA
HOLDING S.P.A.; CENTURY
INTERNATIONAL ARMS, INC.; COLT'S
MANUFACTURING COMPANY LLC;
GLOCK, INC.; GLOCK GES.M.B.H.;
STURM, RUGER & CO., INC.;
WITMER PUBLIC SAFETY GROUP, INC.
D/B/A INTERSTATE ARMS,
       Defendants.

                                 NOTICE OF APPEARANCE

To the Clerk of the above-named Court:

       In accordance with Local Rule 83.5.2, please enter the appearance of Peter M. Durney of

Cornell & Gollub as attorney for defendant Glock, Inc, in the above-referenced matter.


Dated: August 31, 2021                       Respectfully submitted,

                                             Defendant,
                                             Glock, Inc.,
                                             By its attorneys,

                                             /s/ Peter M. Durney __
                                             Peter M. Durney, BBO No. 139260
                                             pdurney@cornellgollub.com
                                             Cornell & Gollub
                                             88 Broad Street, 6th Floor
                                             Boston, MA 02110
                                             Telephone: 617-482-8100
                                             Facsimile: 617-482-3917
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                                  CERTIFICATE OF SERVICE

        I, Peter M. Durney, attorney for the defendant, Glock, Inc. hereby certify that on the 31st day
of August, 2021, a true copy of the foregoing was filed through the ECF System and sent
electronically to the registered participants as identified on the Notice of Electronic Filing, and
that paper copies will be served by first-class mail, postage prepaid, upon anyone indicated as a
non-registered participant.


                                               /s/ Peter M. Durney___
                                               Peter M. Durney
